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GENE GoEHRrNG,
Plaintiff,
v. Case No. 04-2680 Ma/V

FEDEX KINKO’S OFFICE and
PRINT SERVICES, INC., previously
known as KINKO’S, INC.,

Defendant.

 

CONSENT PROTECTIVE ORDER

 

WHEREAS, PlaintiffGene Goehring (hereinafter “Plaintiff") and Defendant FedEx Kinko’ s
Offrce and Print Services, lnc. previously known as Kinko’s, Inc. (hereinafter "Defendant")
recognize and acknowledge that responding to Plaintiff's Second Requests for Production of
Documents to Defendant requires the disclosure and production of information and documents of
a personal, confidential and proprietary nature, the following Protective Order, consented to by the
parties, is hereby entered pursuant to Fed.R.Civ.P. 26(0):

l. This Protective Order shall apply to all information and documents produced by
Defendant in response to Plaintiff`S Second Requests for Production of Documents to Defendant.
This Protective Order shall further apply to all copies, extracts, notes, and summaries prepared or
derived from such information and documents, including those portions of pleadings, briefs,
memoranda, and any other writings filed With the Court referring thereto. All information and

documents to which this Proteetive Order applies shall be referred to as "confidential inforrnation,"

This document entered on the docket sheet in compliance
with Ftu|e 58 and/or 79(a) FFICP on "'/ ’ /

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and all such documents shall be Stamped "Confidential - Subject to Protective Order." Defendant
shall not knowingly designate as "Confrdential - Subject to Protective Order" any information (or
shall promptly withdraw any designation with respect to information) which (a) at the time of the
disclosure herein is available to the general public through lawful means or otherwise consistent with
Defendant’s policies and procedures and not in violation of this Protective Order or (b) after
disclosure herein, becomes available to the general public through lawful means or otherwise
consistent with Defendant’s policies and procedures and not in violation of this Protective Order.
Plaintiff’ s right to challenge the designation of information as "Confrdential - Subject to Protective
Order" is preserved

2. "Confrdential information" shall only be made available to "qualified persons," as
defined in paragraphs 3 and 4 below, who have read this Protective Order, who agree to be bound
by its terms, and who sign a Confldentiality Agreement in the form attached hereto. No other person
shall have access to such “confrdential information" without the approval of Defendant or the Court.

3. "Qualifred persons," as used herein, shall consist of the Plaintiff as well as his counsel
of record, including other attorneys in the frrm, law clerks, paralegals, investigators, and stenographic
clerical employees and deponents and potential witnesses All such "qualifled persons" shall be
informed by Plaintiff’ s counsel of record of the provisions of this Protective Order and shall agree
to be bound thereby with their agreement to be evidenced by signing a Confrdentiality Agreement
in the form attached hereto. The exclusion from the list of "qualit'red persons" of the Court and its
officers, jurors, and witnesses appearing at trial or deposition does not preclude assertion of the
protections of this Protective Order at an appropriate time. Deponents and potential witnesses may
not retain any copies, extracts, notes, or summaries prepared or derived from information subject to

this Protective Order.

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4. Any independent expert retained by or on behalf of Plaintiff may be included as a
"qualified person" once he or she has read this Protective Order, has agreed to be bound by its terms,
and has signed a Contidentiality Agreement in the form attached hereto. A copy of an executed
original of that Confrdentiality Agreement shall be maintained by Plaintiff’ s counsel and, for good
cause shown, the Contidentiality Agreement shall be available for inspection by counsel for
Defendant.

5. "Confidential infonnation" may be used solely for the purpose of this litigation and
for no other purpose.

6. Nothing contained in this Protective Order shall prevent the use of "confidential
information" in connection with depositions or trial, with the following safeguards:

a. All portions of the transcripts of such testimony, including exhibits, which refer or
relate to "confidential information" shall be treated as confidential, and the party introducing such
"confidential information" shall make arrangements with the court reporter to bind the confidential
portion of the transcripts and exhibits Separately and label it "coniidential information." ln addition,
the witness must be advised of the requirements of this Protective Order and that he or she may not
divulge any "confidential information," and the witness must execute a Confrdentiality Agreement
in the form attached hereto.

7. Any pleading, motion, brief, or other paper filed with the Court containing
"confrdential information" shall be filed and maintained in the Clerk's office under seal. The parties
shall tile these papers, as well as transcripts of proceedings revealing "confidential information,“ in
sealed envelopes marked “Confidential - Subject to Protective Order." Such papers shall be made
available only to the Court and to counsel in this proceeding and in any ensuing appeals.

8. Counsel for Plaintiff shall maintain the Confidentiality Agreement executed by each

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"qualified person" to whom any "confidential infonnation“ is disclosed or exhibited in prosecution
of this lawsuit and, for good cause shown, the Confidentiality Agreements shall be available for
inspection by counsel for Defendant.

9. "Confidential information" shall be maintained only in the offices of the Plaintiff’ s
counsel, the Donati Law Firm, LLP, except When filed With the Court, when used in meetings with
other "qualified persons," or during a deposition, trial, or other court proceeding

10. At the conclusion of this case, including any and all appeals, all "confidential
information," including copies, extracts, and summaries, shall be returned to counsel for Defendant.

l l. Any party may apply to the Court for relief from or modification of any provision of
this Protective Order. Any disputes concerning objections and other matters falling within the scope
of, or relating to the interpretation of, this Protective Order shall be submitted for ruling by this Court
after the parties first attempt in good faith to resolve any dispute informally

12. Violations of this Protective Order shall subject the offending person to appropriate
sanctions by the Court.

13. The restrictions contained in this Protective Order may be extended to additional
documents or information by agreement of counsel for the parties without further order of this

Honorable Court.

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Notice of Distribution

This notice confirms a copy of the document docketed as number l2 in
case 2:04-CV-02680 was distributed by fax, mail, or direct printing on
July ll, 2005 to the parties listed.

ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

